                      UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Dzon Marku

                                                            Case No.: 1-18-01446HWV

                                                            Chapter 13
                      Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  M&T
 Court Claim Number:             2
 Last Four of Loan Number:       6335
 Property Address if applicable: 113 S Harris St

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                     $16,632.04
 b.      Prepetition arrearages paid by the trustee:                         $16,632.04
 c.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and paid
         by the trustee:
 e.      Allowed postpetition arrearage:                                     $4,089.80
 f.      Postpetition arrearage paid by the trustee:                         $4,089.80
 g.      Total b, d, and f:                                                  $20,721.84

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: May 25, 2023
                                                       Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


   Re:        Dzon Marku
                                                             Case No.: 1-18-01446HWV
                                                             Chapter 13


                                 CERTIFICATE OF SERVICE


I certify that I am more than 18 years of age and that on May 25, 2023 I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
unless served electronically.

  Served Electronically
  John J Ferry, Esquire
  Law Office of John J Ferry
  931 Cumberland St
  Lebanon, PA 17042


  Served by First Class Mail
  M&T Bank
  PO Box 1288
  Buffalo NY 14240-01288

  Dzon Marku
  113 S Harris St
  Cleona PA 17042

  I certify under penalty of perjury that the foregoing is true and correct.



  Date: May 25, 2023                                    /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                                Disbursements for Claim
Case: 18-01446             DZON MARKU
          M & T BANK
                                                                                   Sequence: 24
          P.O. BOX 1288
                                                                                      Modify:
                                                                                  Filed Date:
          BUFFALO, NY 14240-
                                                                                  Hold Code:
 Acct No: #6335/postarrears harris st
          10/19 POST ARREARS STIP


                                                  Debt:         $4,089.80      Interest Paid:              $0.00
        Amt Sched:                      $0.00                                    Accrued Int:               $0.00
         Amt Due:          $0.00                   Paid:        $4,089.80       Balance Due:                $0.00

Claim name                               Type      Date         Check #     Principal    Interest       Total Reconciled
                                                                                              DisbDescrp
 5210        M & T BANK
521-0 M & T BANK                                 02/15/2023     9015767        $3.55       $0.00       $3.55 02/15/2023


521-0 M & T BANK                                 01/18/2023      9015561      $98.02       $0.00      $98.02 01/18/2023


521-0 M & T BANK                                 12/13/2022     9015360       $98.02       $0.00      $98.02 12/13/2022


521-0 M & T BANK                                 11/16/2022     9015146       $98.01       $0.00      $98.01 11/16/2022


521-0 M & T BANK                                 10/18/2022     9014929      $103.39       $0.00     $103.39 10/18/2022


521-0 M & T BANK                                 09/13/2022     9014728      $103.39       $0.00     $103.39 09/13/2022


521-0 M & T BANK                                 08/17/2022     9014508      $103.39       $0.00     $103.39 08/18/2022


521-0 M & T BANK                                 07/13/2022      9014291     $103.40       $0.00     $103.40 07/13/2022


521-0 M & T BANK                                 06/14/2022     9014083       $96.22       $0.00      $96.22 06/14/2022


521-0 M & T BANK                                 05/17/2022     9013870       $96.23       $0.00      $96.23 05/17/2022


521-0 M & T BANK                                 04/12/2022     9013657       $96.22       $0.00      $96.22 04/12/2022


521-0 M & T BANK                                 03/16/2022     9013439       $96.23       $0.00      $96.23 03/16/2022


521-0 M & T BANK                                 02/16/2022     9013216       $96.22       $0.00      $96.22 02/16/2022


521-0 M & T BANK                                 12/15/2021     9012752       $96.22       $0.00      $96.22 12/15/2021



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Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
521-0 M & T BANK                        11/16/2021    9012502       $96.23      $0.00       $96.23 11/16/2021


521-0 M & T BANK                        10/14/2021    9012249       $96.22     $0.00        $96.22 10/14/2021


521-0 M & T BANK                        09/14/2021    9011998       $99.07     $0.00        $99.07 09/14/2021


521-0 M & T BANK                        08/18/2021    9011747       $99.07     $0.00        $99.07 08/18/2021


521-0 M & T BANK                        07/14/2021    9011479       $99.07     $0.00        $99.07 07/14/2021


521-0 M & T BANK                        06/16/2021    9011215       $99.07     $0.00        $99.07 06/16/2021


521-0 M & T BANK                        05/18/2021     9010941      $99.07     $0.00        $99.07 05/19/2021


521-0 M & T BANK                        04/15/2021    9010658       $95.91     $0.00        $95.91 05/13/2021


521-0 M & T BANK                        03/17/2021    9010370      $191.81     $0.00      $191.81 03/17/2021


521-0 M & T BANK                        01/19/2021    9009775      $293.11     $0.00      $293.11 01/20/2021


521-0 M & T BANK                        12/10/2020    9009245       $95.92     $0.00        $95.92 12/10/2020


521-0 M & T BANK                        11/03/2020    9008965       $95.90     $0.00        $95.90 11/03/2020


521-0 M & T BANK                        10/15/2020    9008692       $95.92     $0.00        $95.92 10/15/2020


521-0 M & T BANK                        09/17/2020    9008373       $94.85     $0.00        $94.85 09/17/2020


521-0 M & T BANK                        08/12/2020    9008054       $94.85     $0.00        $94.85 08/12/2020


521-0 M & T BANK                        07/07/2020    9007753       $94.86     $0.00        $94.86 07/07/2020


521-0 M & T BANK                        06/02/2020    9007473       $94.85     $0.00        $94.85 06/02/2020


521-0 M & T BANK                        05/06/2020    9007237       $94.86     $0.00        $94.86 05/06/2020


521-0 M & T BANK                        03/12/2020    9006887       $98.33     $0.00        $98.33 03/12/2020


521-0 M & T BANK                        02/13/2020    9006796       $92.62     $0.00        $92.62 02/13/2020


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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
521-0 M & T BANK                        01/16/2020       9006705      $110.40      $0.00     $110.40 01/16/2020


521-0 M & T BANK                        11/07/2019       9006522      $469.30     $0.00     $469.30 11/07/2019


                                                      Sub-totals: $4,089.80       $0.00   $4,089.80

                                                     Grand Total: $4,089.80       $0.00




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                                                Disbursements for Claim
Case: 18-01446            DZON MARKU
         M & T BANK
                                                                                   Sequence: 24
         P.O. BOX 1288
                                                                                      Modify:
                                                                                  Filed Date: 6/5/2018 12:00:00AM
         BUFFALO, NY 14240-
                                                                                  Hold Code:
 Acct No: 6335/PRE ARREARS/113 S HARRIS ST



                                                  Debt:        $16,632.04      Interest Paid:              $0.00
        Amt Sched:                $132,552.04                                    Accrued Int:               $0.00
         Amt Due:         $0.00                    Paid:       $16,632.04       Balance Due:                $0.00

Claim name                               Type      Date         Check #     Principal    Interest       Total Reconciled
                                                                                              DisbDescrp
 5200        M & T BANK
520-0 M & T BANK                                 02/15/2023     9015767       $14.46       $0.00      $14.46 02/15/2023


520-0 M & T BANK                                 01/18/2023      9015561     $398.60       $0.00     $398.60 01/18/2023


520-0 M & T BANK                                 12/13/2022     9015360      $398.60       $0.00     $398.60 12/13/2022


520-0 M & T BANK                                 11/16/2022     9015146      $398.61       $0.00     $398.61 11/16/2022


520-0 M & T BANK                                 10/18/2022     9014929      $420.46       $0.00     $420.46 10/18/2022


520-0 M & T BANK                                 09/13/2022     9014728      $420.46       $0.00     $420.46 09/13/2022


520-0 M & T BANK                                 08/17/2022     9014508      $420.46       $0.00     $420.46 08/18/2022


520-0 M & T BANK                                 07/13/2022      9014291     $420.45       $0.00     $420.45 07/13/2022


520-0 M & T BANK                                 06/14/2022     9014083      $391.32       $0.00     $391.32 06/14/2022


520-0 M & T BANK                                 05/17/2022     9013870      $391.31       $0.00     $391.31 05/17/2022


520-0 M & T BANK                                 04/12/2022     9013657      $391.32       $0.00     $391.32 04/12/2022


520-0 M & T BANK                                 03/16/2022     9013439      $391.31       $0.00     $391.31 03/16/2022


520-0 M & T BANK                                 02/16/2022     9013216      $391.32       $0.00     $391.32 02/16/2022


520-0 M & T BANK                                 12/15/2021     9012752      $391.32       $0.00     $391.32 12/15/2021



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Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
520-0 M & T BANK                        11/16/2021    9012502      $391.31      $0.00      $391.31 11/16/2021


520-0 M & T BANK                        10/14/2021    9012249      $391.32     $0.00      $391.32 10/14/2021


520-0 M & T BANK                        09/14/2021    9011998      $402.89     $0.00      $402.89 09/14/2021


520-0 M & T BANK                        08/18/2021    9011747      $402.89     $0.00      $402.89 08/18/2021


520-0 M & T BANK                        07/14/2021    9011479      $402.89     $0.00      $402.89 07/14/2021


520-0 M & T BANK                        06/16/2021    9011215      $402.89     $0.00      $402.89 06/16/2021


520-0 M & T BANK                        05/18/2021     9010941     $402.89     $0.00      $402.89 05/19/2021


520-0 M & T BANK                        04/15/2021    9010658      $390.03     $0.00      $390.03 05/13/2021


520-0 M & T BANK                        03/17/2021    9010370      $780.07     $0.00     $780.07 03/17/2021


520-0 M & T BANK                        01/19/2021    9009775     $1,192.01    $0.00    $1,192.01 01/20/2021


520-0 M & T BANK                        12/10/2020    9009245      $390.02     $0.00      $390.02 12/10/2020


520-0 M & T BANK                        11/03/2020    9008965      $390.04     $0.00     $390.04 11/03/2020


520-0 M & T BANK                        10/15/2020    9008692      $390.02     $0.00      $390.02 10/15/2020


520-0 M & T BANK                        09/17/2020    9008373      $385.75     $0.00      $385.75 09/17/2020


520-0 M & T BANK                        08/12/2020    9008054      $385.75     $0.00      $385.75 08/12/2020


520-0 M & T BANK                        07/07/2020    9007753      $385.74     $0.00     $385.74 07/07/2020


520-0 M & T BANK                        06/02/2020    9007473      $385.75     $0.00      $385.75 06/02/2020


520-0 M & T BANK                        05/06/2020    9007237      $385.74     $0.00     $385.74 05/06/2020


520-0 M & T BANK                        03/12/2020    9006887      $399.89     $0.00      $399.89 03/12/2020


520-0 M & T BANK                        02/13/2020    9006796      $376.68     $0.00      $376.68 02/13/2020


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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
520-0 M & T BANK                        01/16/2020       9006705      $388.76      $0.00     $388.76 01/16/2020


520-0 M & T BANK                        09/26/2019       9006351      $358.18     $0.00      $358.18 09/26/2019


520-0 M & T BANK                        08/07/2019       9006259      $367.75     $0.00      $367.75 08/07/2019


520-0 M & T BANK                        07/11/2019       9006170      $735.49     $0.00      $735.49 07/11/2019


520-0 M & T BANK                        05/09/2019       9005999      $367.75     $0.00      $367.75 05/09/2019


520-0 M & T BANK                        04/11/2019       9005915      $139.54     $0.00     $139.54 04/11/2019


                                                      Sub-totals: $16,632.04      $0.00 $16,632.04

                                                     Grand Total: $16,632.04      $0.00




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